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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et ai.,! Case No. 14-10979 (CSS)

Debtors.

)
)
)
) (Jointly Administered)
)
)

Re: D.I. 4978, 4979

ORDER SUSTAINING TWENTY-THIRD OMNIBUS (SUBSTANTIVE)
OBJECTION TO (CERTAIN IMPROPERLY ASSERTED) CLAIMS PURSUANT
TO SECTION 502(b) OF THE BANKRUPTCY CODE, BANKRUPTCY
RULES 3001, 3003, AND 3007 AND LOCAL BANKRUPTCY RULE 3007-1

Upon the objection (the “Objection” of EFH Corp. for entry of an order (this “Order’)

modifying the Disputed Claims set forth on Exhibit 1, Exhibit 2, Exhibit 3, Exhibit 4, Exhibit 5

and Exhibit 6 attached hereto, all as set forth in the Objection and the Carter Declaration; and the
Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;
and the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and
the Court having found that venue of this case and the Objection in this district is proper pursuant
to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief requested in the
Objection is in the best interests of the Debtors’ estates, their creditors, and other parties in interest;
and the Court having found that EFH Corp. provided appropriate notice of the Objection and the
opportunity for a hearing on the Objection (the “Hearing”) under the circumstances; and the Court

having reviewed the Objection and having heard the statements in support of the relief requested

1 The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of

the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four digits
of their federal tax identification numbers is not provided herein. A complete list of such information may be obtained
on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Objection.
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therein at the Hearing, if any; and the Court having determined that the legal and factual bases set
forth in the Objection and at the Hearing establish just cause for the relief granted herein; and upon
all of the proceedings had before the Court; and after due deliberation and sufficient cause
appearing therefor, it is HEREBY ORDERED THAT:

1. The Objection is sustained as set forth herein.

2. The Wrong Debtor and Modify Amount Claims set forth on the attached Exhibit 1
are hereby modified as provided on the attached Exhibit 1.

3. The Wrong Debtor and Modify Priority Claims set forth on the attached Exhibit 2
are hereby modified as provided on the attached Exhibit 2.

4. The Wrong Debtor and Modify Classification Claims set forth on the attached
Exhibit 3 are hereby modified as provided on the attached Exhibit 3.

5. The Wrong Debtor, Modify Amount and Modify Priority Claims set forth on the
attached Exhibit 4 are hereby modified as provided on the attached Exhibit 4.

6. The Wrong Debtor, Modify Amount and Modify Classification Claim set forth on
the attached Exhibit 5 is hereby modified as provided on the attached Exhibit 5.

7. The Wrong Debtor, Modify Amount, Modify Priority and Modify Classification

Claim set forth on the attached Exhibit 6 is hereby modified as provided on the attached Exhibit

6.

8. The Claims Agent is authorized to modify the Claims Register to comport with the
entry of this Order.

9. Nothing set forth herein shall affect the parties’ rights with respect to the Disputed

Claims, as modified, and the parties’ rights with respect to such claims are reserved, including, for

the avoidance of doubt, EFH Corp.’s (or any other Debtor’s) right to object in the future to the
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Disputed Claims on any grounds permitted by bankruptcy or nonbankruptcy law, subject to any
limitations set forth in the Local Bankruptcy Rules.

10. Notwithstanding the relief granted in this Order and any actions taken pursuant to
such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any
particular claim (including the Proofs of Claim) against a Debtor entity; (b) a waiver of the EFH
Corp.’s (or any other Debtor’s) rights to dispute any particular claim (including the Proofs of
Claim) on any grounds; (c) a promise or requirement to pay any particular claim (including the
Proofs of Claim); (d) an implication or admission that any particular claim is of a type specified
or defined in this Objection (except as set forth herein); (e) an admission by EFH Corp. that any
contract or lease is executory or unexpired, as applicable; (f) a waiver or limitation of EFH Corp.’s
rights under the Bankruptcy Code or any other applicable law; (g) a request or authorization to
assume or reject any agreements under section 365 of the Bankruptcy Code; (h) a waiver of any
party’s rights to assert that any other party is in breach or default of any agreement; or (i) an
admission that any contract or lease is integrated with any other contract or lease.

11. | Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,
9014 or otherwise, the terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.

12. EFH Corp. is authorized to take all actions necessary to effectuate the relief granted

pursuant to this Order in accordance with the Objection.
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13. This Court shall retain exclusive jurisdiction to resolve any dispute arising from or

related to this Order.

Wilmington, Delaware VK So Le
Dated: _& / |’, 2015 LL \AF i

THE HONORABLE CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

